       Case 14-71797-pwb               Doc 182 Filed 01/25/16 Entered 01/25/16 11:21:03                                 Desc Ntc.
                                             Proof of Claim Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT

                                                    Northern District of Georgia


In Re: Debtor(s)
       HP Superior, Inc.                                               Case No.: 14−71797−pwb
       5174 McGinnis Ferry Road                                        Chapter: 7
       Suite 195                                                       Judge: Paul W. Bonapfel
       Alpharetta, GA 30005

        03−0377090



                                              NOTICE SETTING DEADLINE FOR
                                                FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.

     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:



                                             Non−government proof of claim: 04/24/16




                                                Government proof of claim: 04/24/16


                                                File with:
                                                United States Bankruptcy Court
                                                1340 Russell Federal Building
                                                75 Ted Turner Drive SW
                                                Atlanta, GA 30303


  Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                        (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                         If you have already filed your proof of claim, it is not necessary to refile.




                                                                                                M. Regina Thomas
                                                                                                Clerk of Court
                                                                                                U.S. Bankruptcy Court
Dated: January 25, 2016
Form ntcpoc
